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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

LOS ANGELES
CASE NO.:
RONALD WEISSBERGER and
EVA WEISSBERGER
Plaintiffs,
Vv.
PRINCESS CRUISE LINES LTD.
Defendant.
/

 

COMPLAINT AND JURY DEMAND

Plaintiffs, by and through their undersigned counsel, hereby sues Defendant, PRINCESS

CRUISE LINES LTD. (hereinafter, “PRINCESS”), and alleges:

THE PARTIES AND JURISDICTION

1. This is an action seeking damages in excess of $1,000,000.00 (One Million
Dollars) exclusive of interest, costs and attorney's fees.

2. This Court has diversity subject matter jurisdiction pursuant to 28 U.S.C. § 1332
as this is a civil action in which the matter in controversy exceeds the sum or value of $75,000,
exclusive of interest and costs, and is between citizens of different States and/or citizens of a

State and citizens or subjects of a foreign state.

3. This Court also has Admiralty subject matter jurisdiction pursuant to 28 U.S.C. §
1333 as this case involves a maritime tort. The type of incident and injuries suffered by Plaintiffs

had the potential to impact maritime commerce as Plaintiffs are at serious risk of imminent harm
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as a result of being exposed to the Coronavirus running rampant aboard the cruise ship upon
which they are paying passengers.

4. Plaintiff, Ronald Weissberger is sui juris, is a resident of Broward County Florida,
and is currently a passenger onboard the Grand Princess.

5. Plaintiff, Eva Weissberger is sui juris, is a resident of Broward County Florida,

and is currently a passenger onboard the Grand Princess.

6. Princess Cruise Lines LTD. is incorporated in Bermuda, with its headquarters in
Santa Clarita California. The action is being filed in this Court pursuant to the terms and
conditions of the Passenger Contract issued by Defendant, Princess Cruise Lines Ltd.

7. At all times hereto, PRINCESS owned and operated the cruise ship the Grand
Princess,

8. This Court has personal jurisdiction over PRINCESS as PRINCESS’ principle
place of business is located in Los Angeles County, Los Angeles.

9. PRINCESS conducts substantial business within the state of California, including
operating cruises from ports in San Francisco, San Diego and Los Angeles.

10. PRINCESS markets cruise vacations to Californian residents and employs
thousands of Californian residents to work at its California headquarters.

11. _—_— Plaintiffs are passengers aboard the Grand Princess which departed out of San
Francisco on February 21, 2020, and has been anchored off the coast of San Francisco since

Wednesday, March 4, 2020, as a result of an outbreak of COVID-19.
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FACTUAL BACKROUND
In the recent months, there has been a worldwide outbreak of a new strain of the Corona
virus, commonly known as COVID-19. The virus began in China in December 2019, and has
quickly spread throughout Asia, Europe and most recently, North America. The virus causes
temperature, a dry cough, and can be fatal. There have been over One Hundred Thousand cases
worldwide and over Three Thousand deaths as result of COVID-19. Those fatalities have

largely been amongst the elderly population, and those with underlying medical complications.

COVID-19 really gained the attention of the public when the Diamond Princess cruise
ship, also owned and operated by Defendant, suffered an outbreak of the disease at the beginning
of February 2020 in Yokohama, Japan. The outbreak began with ten cases, and rapidly
multiplied to seven hundred cases, as a result of the flawed two week quarantine on the ship.
The Center for Disease Control, (CDC) issued a statement on February 18, 2020, that “the rate
of new reports of positives new on board, (Diamond Princess), especially among those without
symptoms, highlights the high burden of infection on the ship and potential for ongoing risk.”

Seven of Defendant’s passengers died as a result of COVID-19.

It would only stand to reason, that having experienced such a traumatic outbreak on
board one of its vessels less than a month prior to the current voyage on board the Grand
Princess, that the Defendant would have learned to take all necessary precautions to keep its
passengers, crew and the general public safe. Unfortunately, the Defendant PRINCESS did no
such thing, which is why Plaintiffs are now at actual risk of immediate physical injury

proximately caused by the Defendant’s negligence.
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COUNT I

(NEGLIGENCE AGAINST PRINCESS)

Plaintiffs re-allege all allegations in paragraphs 1 through 11 above as if alleged fully herein.

12. PRINCESS owed Plaintiffs, who are paying passengers who boarded the Grand
Princess on February 21, 2020, the duty to ensure that they would not be exposed to
unreasonable risk of harm that defendant knew or should have known about while sailing on its
vessel.

13. Defendant breached its duty in that it had knowledge that at least one of its
passengers from the prior voyage who disembarked Feb.21, 2020 had symptoms of coronavirus,
and yet it made the conscious decision to continue sailing the voyage that began on February 21,
2020 with another three thousand passengers on an infected ship.

14. — Specifically, Defendant was aware of at least two passengers who disembarked its
ship on February 21, 2020 in San Francisco, had symptoms of the coronavirus. It went as far as
to send emails on Wednesday February 25, to passengers who disembarked the Grand Princess
on February 21, notifying them of the potential of exposure to the coronavirus while onboard
their cruise.

15. To make matters even worse, there are sixty two passengers on board the
Plaintiffs’ cruise, who were also on the prior voyage, who were exposed to the passengers that
were confirmed to be infected, and later died.

16. In continuing to sail with another three thousand passengers including Plaintiffs
on February 21, 2020, knowing that some of those passengers and crew had already been
exposed to COVID-19, the Defendant PRINCESS has exposed Plaintiffs to actual risk of

immediate physical injury.
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17. Defendant is further negligent in failing to have proper screening protocols for
COVID-19 prior to boarding the passengers on Plaintiffs’ voyage. Despite the knowledge and
experience it had with the outbreak of the disease on the Diamond Princess just a mere three
weeks prior to the instant case, Defendant did not have proper screening protocol in place to
minimize the risk of exposure of the disease to its passengers and crew.

18. Prior to boarding the February 21, 2020 sailing on the Grand Princess, passengers
were simply asked to fill out a piece of paper confirming they were not sick. Not one passenger
was questioned, let alone examined in any capacity. Incredibly, not one of those sixty two
passengers or crew members who were mixing and mingling with the infected prior passengers
were ever examined during the instant voyage until being tested for the virus on Thursday March
5, 2020, two weeks after the ship sailed.

19. Asaresult of the Defendant’s lackadaisical approach to the safety of Plaintiffs, its
passengers and crew aboard the Grand Princess, Plaintiffs are at actual risk of immediate
physical injury.

20. Finally, Defendant PRINCESS is negligent in failing to adequately warn Plaintiffs
about the potential exposure to COVID-19 prior to boarding the ship on February 21, 2020, and
again during the sailing of said cruise. Defendant had actual knowledge of at least two
passengers who sailed on its ship the week prior, disembarked with symptoms of coronavirus,
and one confirmed death as a result. Defendant also knew that there were sixty two passengers
and crew who were onboard that same sailing, who now are on board with Plaintiffs, and failed
to inform Plaintiffs at any time prior to boarding or while they were already onboard, that

there is an actual risk of exposure to COVID-19. In addition, PRINCESS failed to inform
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Plaintiffs that a crew member aboard their cruise actually disembarked in Hawaii as a result of
coronavirus.

21. If Plaintiffs had knowledge of this actual risk of exposure prior to boarding, they
would have never boarded the ship. If they were informed of the risk on February 25, 2020,
when the former passengers were notified by email, Plaintiffs would have disembarked at the
first port of call in Honolulu on Feb 26, 2020. Due to Defendant’s outright negligence in failing
to warn Plaintiffs of the actual risk of exposure to COVID-19 aboard its infected ship, Plaintiffs

are quarantined in their cabin along with the rest of the passengers and crew, off the coast of San

Francisco, anxiously awaiting their fate.

 

22. As a direct and proximate result of the aforementioned negligence of the
Defendant PRINCESS, in exposing them to actual risk of immediate physical injury, Plaintiffs

are suffering from emotional distress, are traumatized from the fear of developing COVID-19 as
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they sit minute after minute in their confined cabin on an infected vessel, and this emotional

harm will continue to plague them.

WHEREFORE, Plaintiffs demand judgment against Defendant PRINCESS for

damages suffered as result of their negligence and a trial by jury on all issues triable.

COUNT I
(GROSS NEGLIGENCE AGAINST DEFENDANT PRINCESS)
Plaintiff re-alleges all allegations set out in paragraphs | through 22 above as if alleged fully

herein.

23. Defendant Princess’ conduct in deciding to continue to sail the Grand Princess
with Plaintiffs, knowing that the ship was infected from two previous passengers who came
down with symptoms of COVID-19, and had sixty two passengers on board with plaintiffs who
were previously exposed to those two infected individuals, along with the prior crew, shows a
lack of any care on the part of Defendant, amounting to gross negligence. Defendant knew how
dangerous it was to expose Plaintiffs and the rest of its passengers to COVID-19 in light of its
experience with the Diamond Princess a short three weeks prior, and yet it departed from what a
reasonably careful cruise line would do under the circumstances in continuing to sail with
Plaintiffs.

24. | Moreover, Defendant’s conduct in failing to warn Plaintiffs of their actual risk of
harm in being exposed to COVID-19, either prior to boarding or while they were already on
board, in light of the prior passenger who came down with symptoms who ended up dying, along
with others who came down with symptoms from that prior voyage, and the crew member who

disembarked during this voyage from the virus, amounts to an extreme departure of a what a
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reasonably careful cruise line would do, in light of that fact that Plaintiffs are elderly with
underlying medical conditions.

25. | Defendant PRINCESS chose to place profits over the safety of its passengers,
crew and the general public in continuing to operate business as usual, despite their knowledge

of the actual risk of injury to Plaintiffs, who are elderly with underlying medical conditions.

WHEREFORE, Plaintiffs demand judgment against PRINCESS including punitive
damages suffered as a result of the alleged gross negligence on Defendant, and a trial by jury on

all issues triable.

DEMAND FOR JURY TRIAL
The Plaintiffs hereby demand trial by jury of all issues so triable of right.
DATED this 7th day of March, 2020.

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